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                                                           in the Middle District of
                                                                North Carolina
                                                                May
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                                                                     27, 2023
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                                                           Clerk, US District Court
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